                               Case 21-17496-MAM                       Doc 15          Filed 09/09/21              Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 21-17496-MAM
Susan Hader                                                                                                            Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-9                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Sep 07, 2021                                               Form ID: CGFD65                                                           Total Noticed: 40
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 09, 2021:
Recip ID                   Recipient Name and Address
db                    +    Susan Hader, 5935 Premier Way Unit 1445, Naples, FL 34109-7904
96288099              +    American Express National Bank, POB 53852, Phoenix, AZ 85072-3852
96288100              +    Amex, Correspondence/Bankruptcy, Po Box 981540, El Paso, TX 79998-1540
96288101              +    Amex/Bankruptcy, Correspondence/Bankruptcy, Po Box 981540, El Paso, TX 79998-1540
96288102              +    Apollo Jets LLC, Bank of America Building, 2000 Glades Road, Suite 204, Boca Raton, FL 33431-8504
96288103             ++    BANK OF AMERICA, PO BOX 982238, EL PASO TX 79998-2238 address filed with court:, Bank of America, Attn: Bankruptcy, Po
                           Box 982234, El Paso, TX 79998
96288115               +   Emigrant Mortgage Co, 7 Westchester Plaza, Elmsford, NY 10523-1614
96288135               +   Jet Mark Inc., C/o Susan Hader, 5935 Premier Way Unit 1445, Naples, FL 34109-7904
96288136               +   Mark Hader, 5935 Premier Way Unit 1445, Naples, FL 34109-7904
96288119               +   Modlin Slinsky P.A., c/o Scott E. Modlin, 1551 Sawgrass Corporate Parkway, Suite 110, Fort Lauderdale, FL 33323-2832
96288137               +   Sunny Bridges Rental 118, LLC, c/o Susan Hader, 5935 Premier Way, Unit 1445, Naples, FL 34109-7904
96288123               +   Syncb/henredon Furnitu, C/o Po Box 965036, Orlando, FL 32896-0001
96288132               +   Teachers Federal Credit Union, Attn: Bankruptcy, Po Box 9005, Smithtown, NY 11787-9005

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: OGCBankruptcy@floridarevenue.com
                                                                                        Sep 08 2021 00:35:00      Florida Department of Revenue, POB 6668,
                                                                                                                  Bankruptcy Division, Ft Lauderdale, FL
                                                                                                                  32314-6668
cr                     + Email/PDF: gecsedi@recoverycorp.com
                                                                                        Sep 08 2021 00:44:57      Synchrony Bank, PRA Receivables Management,
                                                                                                                  LLC, PO Box 41021, Norfolk, VA 23541-1021
96288104                   Email/PDF: ais.bmw.ebn@americaninfosource.com
                                                                                        Sep 08 2021 00:45:05      Bmw Financial Services, Attn: Bankruptcy, Po
                                                                                                                  Box 3608, Dublin, OH 43016
96288105               + Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                        Sep 08 2021 00:45:09      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
96288106               + Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                        Sep 08 2021 00:44:57      Capital One/Neiman Marcus/Bergdorf Goodm,
                                                                                                                  Attn: Bankruptcy, Po Box 30285, Salt Lake City,
                                                                                                                  UT 84130-0285
96288107               + Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                        Sep 08 2021 00:45:09      Capital One/SaksFirst, Attn: Bankruptcy, Po Box
                                                                                                                  30285, Salt Lake City, UT 84130-0285
96288109                   Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                                     Sep 08 2021 00:35:00                         Comenity bank/J Crew, Attn: Bankruptcy, Po Box
                                                                                                                  182125columbus, Columbus, OH 43218
96288111               + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                                   Sep 08 2021 00:35:00                           Comenitybank/West Elm, Attn: Bankruptcy Dept,
                                                                                                                  Po Box 182125, Columbus, OH 43218-2125
96288110               + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                                   Sep 08 2021 00:35:00                           Comenitybank/companyst, Po Box 182789,
                              Case 21-17496-MAM                     Doc 15        Filed 09/09/21             Page 2 of 5
District/off: 113C-9                                               User: admin                                                            Page 2 of 3
Date Rcvd: Sep 07, 2021                                            Form ID: CGFD65                                                      Total Noticed: 40
                                                                                                            Columbus, OH 43218-2789
96288112              + Email/PDF: creditonebknotifications@resurgent.com
                                                                                   Sep 08 2021 00:44:59     Credit One Bank, Attn: Bankruptcy Department,
                                                                                                            Po Box 98873, Las Vegas, NV 89193-8873
96288113              + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                   Sep 08 2021 00:45:12     Department Store National Bank/Macy's, Attn:
                                                                                                            Bankruptcy, 9111 Duke Boulevard, Mason, OH
                                                                                                            45040
96288114              + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                   Sep 08 2021 00:45:00     Dsnb Bloomingdales, Attn: Recovery 'Bk', Po Box
                                                                                                            9111, Mason, OH 45040
96288116                 Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                   Sep 08 2021 00:35:00     Internal Revenue Service, Centralized Insolvency
                                                                                                            Operations, PO Box 7346, Philadelphia, PA
                                                                                                            19101-7346
96288108                 Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                   Sep 08 2021 00:44:57     Chase Card Services, Attn: Bankruptcy, Po Box
                                                                                                            15298, Wilmington, DE 19850
96288118                 Email/Text: ml-ebn@missionlane.com
                                                                                   Sep 08 2021 00:35:00     Mission Lane LLC, Attn: Bankruptcy, Po Box
                                                                                                            105286, Atlanta, GA 30348
96288117              + Email/Text: M74banko@daimler.com
                                                                                   Sep 08 2021 00:36:00     Mercedes-Benz Financial Services, Attn:
                                                                                                            Bankruptcy, Po Box 685, Roanoke, TX
                                                                                                            76262-0685
96288120              + Email/Text: bnc@nordstrom.com
                                                                                   Sep 08 2021 00:35:56     Nordstrom Signature Visa, Attn: Bankruptcy, Po
                                                                                                            Box 6555, Englewood, CO 80155-6555
96288122              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 08 2021 00:45:09     Syncb/Crate & Barrel, Attn: Bankruptcy, Po Box
                                                                                                            965060, Orlando, FL 32896-5060
96288125              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 08 2021 00:44:57     Syncb/Lord & Taylor, Attn: Bankruptcy, P.O. Box
                                                                                                            965060, Orlando, FL 32896-5060
96288126              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 08 2021 00:45:08     Synchrony Bank/Banana Republic, Attn:
                                                                                                            Bankruptcy Dept, Po Box 965060, Orlando, FL
                                                                                                            32896-5060
96288127              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 08 2021 00:45:08     Synchrony Bank/Care Credit, Attn: Bankruptcy
                                                                                                            Dept, Po Box 965064, Orlando, FL 32896-5064
96288128              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 08 2021 00:44:57     Synchrony Bank/Gap, Attn: Bankruptcy, Po Box
                                                                                                            965060, Orlando, FL 32896-5060
96288130              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 08 2021 00:44:57     Synchrony Bank/Linen N' Things, Attn:
                                                                                                            Bankruptcy Dept, Po Box 965060, Orlando, FL
                                                                                                            32896-5060
96288131              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 08 2021 00:45:03     Synchrony Bank/PC Richard, Attn: Bankruptcy,
                                                                                                            Po Box 965061, Orlando, FL 32896-5061
96288129              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Sep 08 2021 00:44:57     Synchrony Bank/hhgregg, Attn: Bankruptcy, Po
                                                                                                            Box 965060, Orlando, FL 32896-5060
96288133              + Email/Text: documentfiling@lciinc.com
                                                                                   Sep 08 2021 00:35:00     Telecom Self-reported, Po Box 4500, Allen, TX
                                                                                                            75013-1311
96288134                 Email/Text: RPSBankruptcyBNCNotification@usbank.com
                                                                                   Sep 08 2021 00:35:00     US Bank, Attn: Bankruptcy, 800 Nicollet Mall,
                                                                                                            Minneapolis, MN 55402

TOTAL: 27


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
96288124                      Syncb/henredon Stnd Al
96288121        ##+           Sherman & Sherman P.A., Attn: Craig & Drew Sherman, 2000 Glades Road, Suite 204, Boca Raton, FL 33431-8504

TOTAL: 1 Undeliverable, 0 Duplicate, 1 Out of date forwarding address
                             Case 21-17496-MAM                     Doc 15         Filed 09/09/21            Page 3 of 5
District/off: 113C-9                                              User: admin                                                           Page 3 of 3
Date Rcvd: Sep 07, 2021                                           Form ID: CGFD65                                                     Total Noticed: 40

                                                  NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 09, 2021                                        Signature:          /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 6, 2021 at the address(es) listed
below:
Name                             Email Address
Heidi A Feinman
                                 on behalf of U.S. Trustee Office of the US Trustee Heidi.A.Feinman@usdoj.gov

Jason S Rigoli, Esq.
                                 on behalf of Debtor Susan Hader jrigoli@furrcohen.com rrivera@furrcohen.com;staff1@furrcohen.com

Michael R Bakst
                                 efilemrb@gmlaw.com
                                 ecf.alert+Bakst@titlexi.com;efileu1084@gmlaw.com;efileu1086@gmlaw.com;efileu386@gmlaw.com;efileu1857@gmlaw.com

Office of the US Trustee
                                 USTPRegion21.MM.ECF@usdoj.gov


TOTAL: 4
                          Case 21-17496-MAM                      Doc 15          Filed 09/09/21              Page 4 of 5
CGFD65 (10/01/16)




ORDERED in the Southern District of Florida on September 6, 2021




                                                                                                  Mindy A Mora
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                Case Number: 21−17496−MAM
                                                                                                                Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Susan Hader
aka Susan Goldman, aka Susan G Hader
5935 Premier Way Unit 1445
Naples, FL 34109

SSN: xxx−xx−5707




                              ORDER DETERMINING DEBTOR'S
                     COMPLIANCE WITH FILING REQUIREMENTS OF §521(a)(1)

       Pursuant to 11 U.S.C. §521(i), if an individual debtor in a voluntary case under chapter 7 or 13 fails to
file all of the information required under 11 U.S.C. §521(a)(1) within 45 days after the date of the filing of
the petition, the case shall be automatically dismissed effective on the 46th day after the date of the filing
of the petition.




                                                                    Page 1 of 2
                       Case 21-17496-MAM                 Doc 15        Filed 09/09/21   Page 5 of 5




      The information required by 11 U.S.C. §521(a)(1) as provided by the debtor* in this case is complete
to the satisfaction of the trustee and no creditor or other party in interest has filed a request for an order of
dismissal pursuant to 11 U.S.C. §521(i)(2) as provided under Local Rule 1017−2(A)(2). Based upon the
trustee's review, the court has determined that the debtor has complied with the information requirements
of 11 U.S.C. §521(a)(1).

Accordingly, it is

ORDERED:


      1. This case is not subject to automatic dismissal under 11 U.S.C. §521(i)(1) or (2).

      2. If any creditor or other party in interest has any reason to contest the court's finding that the
         debtor has filed all information required by 11 U.S.C. §521(a)(1), that party shall file an
         objection not later than 21 days from the date of the entry of this Order, and serve such
         objection on the trustee, the United States Trustee, debtor, and debtor's counsel, if any. The
         objection should specifically identify the information and document(s) required by 11 U.S.C.
         §521(a)(1) that the debtor has failed to file.

      3. Each creditor or other party in interest served with this Order who does not file an objection
         within the 21 day deadline set forth above has waived the right to file a motion to dismiss this
         bankruptcy case for the debtor's failure to comply with 11 U.S.C. §521(a)(1).

      4. Nothing in this Order shall excuse the debtor's duty to cooperate with the United States
         Trustee and the trustee assigned to this case, and shall not prevent the United States Trustee
         or case trustee from requesting by any authorized means, including, but not limited to motion,
         that the debtor supply further information.


The clerk shall serve a copy of this order on all parties of record.




                                                               ###


    * All references to "debtor" shall include and refer to both of the debtors in a case filed jointly by two
                                                  individuals.




                                                           Page 2 of 2
